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                                  UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA

Case No: 20-cr-00337-WHO-1
Case Name: USA v. Sullivan

                              TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                               PLAINTIFF ATTORNEYS:                     DEFENSE ATTORNEYS:
 William H. Orrick                    Andrew Dawson and Benjamin               David H. Angeli, John D. Cline,
                                      Kingsley                                 Michelle H. Kerin, and Tyler
                                                                               Francis
 TRIAL DATE: 9/14/2022              REPORTERS:                                 CLERK:
 8:04 a.m. to 1:29 p.m.             Belle Ball and Joan Columbini              Jean Davis
 5 hours, 25 minutes
Counsel for Interested Party Uber Technologies: Douglas Sprague
 PLF DEF TIME
 NO. NO. OFFERED                 ID     REC DESCRIPTION
                8:04 a.m.                        Court in session (jurors out)
                                                 Counsel discuss Uber objections to testimony elicited from
                                                 Sabrina Boysen Ross. The objection is sustained. Mr.
                                                 Sprague’s request for testimony to be stricken is discussed.
                                                 The Court takes the motion under submission. Counsel
                                                 stipulate to the admission of the following exhibits: 21, 25,
                                                 29, 33, 48, 81, 129, 130, 83, 84. 85, 90, 91, 127, 92-98. 99,
                                                 100-115, 116, 146, 132, 710, and 711.
                8:16 a.m.                        Court in recess
                8:31 a.m.                         Court in session. The Court denies motion to strike and
                                                  clarifies procedures to address confidentiality issues.
                8:33 a.m.                         Court in recess
                8:41 a.m.                         Court in session (jurors out); Court confirms that a
                                                  temporary solution to technical issues has been reached.
                8:44 a.m.                         Jurors seated; Court presents instruction regarding privileged
                                                  information
                8:45 a.m.                         Defense passes witness; Government redirect of Sabrina
                                                  Boyson Ross (Dawson)
 9              9:04 a.m.         X      X        Uber Data Breach Incident Response Plan; Admitted by
                                                  stipulation
                9:08 a.m.                         Defense follow up examination (Angeli)
                9:10 a..m.                        Witness excused
                9:12 a.m.                         Government direct examination of Craig Clark (Dawson)
 21             9:33 a.m.         X      X        Email from Clark to Rai (cc: Sullivan, Flynn) re:
                                                  encryption at rest; Admitted by stipulation
 25             9:39 a.m.         X      X        Email exchange among Clark, Guzman, Henley, Flynn,
                                                  Greene, and Sullivan re: johndoughs@protonmail.com
                                                  Incident; Admitted by stipulation
 33             9:51 a.m.         X      X        Sullivan email to Kalanick and Clark re: Security Note;
                                                  Admitted by stipulation

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                                    Case No: 20-cr-00337-WHO-1
                                     Case Name: USA v. Sullivan
                                      Date: September 14, 2022
     Courtroom Deputy: Jean Davis           - Court Reporter:   Belle Ball and Joan Columbini

                             EXHIBIT and WITNESS LIST CONTINUED

PLF      DEF TIME
NO.      NO. OFFERED           ID   REC     DESCRIPTION
             10:00 a.m.                     Court in recess
               10:17 a.m.                   Court in session (jurors out) Counsel stipulate to the
                                            admission of the following exhibits: 43, 51, 80, 143, 144,
                                            148, 149, 152, 153, 156, 184, 193, 202, 203, 367, 426, 446,
                                            1005, 1007, 1008, 1030, 1041, 1092, 1104, 1109, and 1118
               10:21 a.m.                   Court in session (jurors present)
                                            Government direct examination of Craig Clark continues
                                            (Dawson)
48             10:24 a.m.      X    X       Nov. 15 - 9:01 pm NDA; Admitted by stipulation
81             10:26 a.m.      X    X       Nov. 16 - 7:57 am NDA; Admitted by stipulation
130            10:29 a.m.      X    X       Greene and Clark comments on Patel et al NDA; Admitted
                                            by stipulation
83             10:29 a.m.      X    X       Nov. 16 - 10:53 am NDA; Admitted by stipulation
84             10:30 a.m.      X    X       Nov. 16 - 3:51 pm NDA; Admitted by stipulation
85             10:30 a.m.      X    X       Nov. 16 - 4:55 pm NDA; Admitted by stipulation
90             10:34 a.m.      X    X       Nov. 16 - 7:34 pm NDA; Admitted by stipulation
91             10:35 a.m.      X    X       Nov. 16 - 8:34 pm NDA; Admitted by stipulation
92             10:36 a.m.      X    X       Nov. 16 - 9:58 pm NDA; Admitted by stipulation
93             10:37 a.m.      X    X       Nov. 16 - 9:59 pm NDA; Admitted by stipulation
94             10:38 a.m.      X    X       Nov. 16 - 9:59 pm NDA; Admitted by stipulation
95             10:38 a.m.      X    X       Nov. 16 - 10:00 pm NDA; Admitted by stipulation
96             10:39 a.m.      X    X       Nov. 16 - 10:01 pm NDA; Admitted by stipulation
97             10:39 a.m.      X    X       Nov. 16 - 10:01 pm NDA; Admitted by stipulation
98             10:40 a.m.      X    X       Nov. 16 - 10:02 pm NDA; Admitted by stipulation
99             10:40 a.m.      X    X       Nov. 16 - 10:07 pm NDA; Admitted by stipulation
100            10:41 a.m.      X    X       Nov. 16 - 10:08 pm NDA; Admitted by stipulation
101            10:43 a.m.      X    X       Nov. 16 - 10:12 pm NDA; Admitted by stipulation
102            10:43 a.m.      X    X       Nov. 16 - 10:12 pm NDA; Admitted by stipulation
103            10:44 a.m.      X    X       Nov. 16 - 10:13 pm NDA; Admitted by stipulation
104            10:44 a.m.      X    X       Nov. 16 - 10:14 pm NDA; Admitted by stipulation
105            10:45 a.m.      X    X       Nov. 16 - 10:14 pm NDA; Admitted by stipulation
106            10:45 a.m.      X    X       Nov. 16 - 10:15 pm NDA; Admitted by stipulation
107            10:45 a.m.      X    X       Nov. 16 - 10:16 pm NDA; Admitted by stipulation

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  Courtroom Deputy: Jean Davis           - Court Reporter:  Belle Ball and Joan Columbini

                          EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF TIME
NO.   NO. OFFERED           ID   REC     DESCRIPTION
108       10:45 a.m.        X    X       Nov. 16 - 10:16 pm NDA; Admitted by stipulation
109         10:46 a.m.      X    X       Nov. 16 - 10:16 pm NDA; Admitted by stipulation
110         10:46 a.m.      X    X       Nov. 16 - 10:17 pm NDA; Admitted by stipulation
111         10:46 a.m.      X    X       Nov. 16 - 10:18 pm NDA; Admitted by stipulation
112         10:46 a.m.      X    X       Nov. 16 - 10:18 pm NDA; Admitted by stipulation
113         10:47 a.m.      X    X       Nov. 16 - 10:18 pm NDA; Admitted by stipulation
114         10:47 a.m.      X    X       Nov. 16 - 10:19 pm NDA; Admitted by stipulation
115         10:47 a.m.      X    X       Nov. 16 - 10:19 pm NDA; Admitted by stipulation
116         10:48 a.m.      X    X       Nov. 16 - 10:31 pm NDA; Admitted by stipulation
146         10:49 a.m.      X    X       Clark email to Matthews and Henley re: NDA ready to be
                                         Sent; Admitted by stipulation
132         10:51 a.m.      X    X       Text Message from Candace Kelly to Craig Clark; Admitted
                                         by stipulation
710         10:56 a.m.      X    X       Clark email re SMC follow-up; Admitted by stipulation
711         10:58 a.m.      X    X        Admitted by stipulation
            11:07 a.m.                   Defense cross examination of Craig Clark (Angeli)
      1008 11:09 a.m.       X    X       Craig Clark Resumé; Admitted by stipulation
      1005 11:14 a.m.       X    X       Craig Clark employment agreement; Admitted by stipulation
      1007 11:16 a.m.       X    X       Email from Tassi to Uber Privacy team re: Introduction
                                         - Craig Clark, Senior Counsel, Privacy; Admitted by
                                         stipulation
      1725 11:20 a.m.                    Used for refreshment of witness memory only
      1118 11:22 a.m.       X    X       Admitted by stipulation
      1588 11:24 a.m.       X    X       Admitted by stipulation
      1104 11:26 a.m.       X    X       Admitted by stipulation
      426   11:30 a.m.      X    X       12.01.2016 Email from derek Care re: Data Breach plan/
                                         log; Admitted by stipulation
      23    11:34 a.m.      X    X       Engineering Security Incident Response Plan; Admitted by
                                         stipulation
      1030 11:37 a.m.       X    X       Calendar invitation from Thrift to Borges, Clark,
                                         Greene, Worden, Ensign, Stern, Gates, Sullivan,
                                         Guzman, Fletcher, Long, Qiao, Henley, and Flynn re:
                                         Preacher Check-In Meeting; Admitted by stipulation
            11:44 a.m.                   Court in recess
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      12:08 p.m.                Court in session (jurors present)
                                Defense cross examination of Craig Clark continues (Angeli)
699   12:28 p.m.                Utilized for refreshment of witness recollection only; not
                                displayed to jurors
151   12: 32 p.m.   X    X      Scope of Potential Exposure in Uber-Cold-Storage;
                                Admitted by stipulation
43    12:35 p.m.    X    X      Draft “Security Incident Extortion Attempt” document;
                                Admitted by stipulation
153   12:39 p.m.    X    X      Preacher Contingency Plan; Admitted by stipulation
154   12:44 p.m.    X    X      Garbutt and Clark comments on Google doc, "Scope of
                                potential exposure in Uber-cold-storage"; Admitted by
                                stipulation
1041 12:58 p.m.     X    X      Email exchange among Clark, Thrift, Glovin,
                                Matthews, Green, Fletcher, and Wong re: $120K
                                payout? Heads up on balance; Admitted by stipulation
446   1:05 p.m.     X    X      12.17.2016 Email from Craig Clark re: ReVeal/
                                Spangenberg Articles : FTC Update; Admitted by stipulation
202   1:15 p.m.     X    X      Email from Ross to privacyteam@uber.com re: (a) team
                                meeting; (b) Closing Letter to the FTC; Admitted by
                                stipulation
1092 1:21 p.m.      X    X      Letter from Dawson to Clark, attaching grand jury
                                Subpoena;Admitted by stipulation; Admitted by stipulation
1093 1:22 p.m.      X    X      Email from Dawson to Stumphauzer and Santiago re:
                                Tomorrow morning? Admitted by stipulation
      1:26 p.m.                 Jurors excused with the admonitions of the Court
      1:29 p.m.                 Court in recess




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